                                                            Case 17-23640-EPK                                    Doc 57                Filed 03/13/19                          Page 1 of 3

                                                          IINITT,D STA'T'T]S BANKRTlPTC\'(]()TIRT. SOIJ'tHIiRN DISl'RI(]T OF FI,ORIDA

                                                                                                                )\:utrv.llsb.   qse    e-u$,s.goy
                                                                                (,ltl A P T Il   ll   I   J   I L,\ N l[ fjyi      qlu a 1.,.\     djllsl       nrc11! o=t D e b ts)

                                         i,l                                                                     Original Plan

                                         L]                                                                      Anrcndcd Plan (lndicate I st, 2nd etc. Arnended. if'applicable)

                                         Lil          Sccond                                                     \{odilled [)lan (lndicate lst.                      2nd.   etc l\4odilled. if applicabre.t

 DE    ts   To   Fl   :,slgtULr qryUllt                                                      JOINl' DFIB'fOR: Vlarcen                       N4orris                                    CASE NO.: 17-23640
 SS#: xxx-xx- 5883                                                                               SS#: xxx-rx-5633
 I.               \Q tIC'ES
                 'To [)ebtors:                            Plarrs that do nol contpll u'ith local rules and judicial rulirrgs mav not be confirntable. All plans, anrended plans
                                                          artd nroditicd plans shall be servcd upon all cleditols ancl a cerliticate o1'service flled with the Clerk pursuanr to
                                                          Local Rulcs 2001-l ((')(5). -1015-l(llX2). and 101,5-2. Debtor(s) must conlntencc plan pa\''nents w,ithin 30 dal,s                                                     of
                                                          filing the chapter l3 petition or rvithin 30 day's ofentrv ofthe order converting the case to chapter 13.
                 'fo Crcditors:                           Your rights rnav bc'aff'ected by'this plan. \'ou rnust file a tinrely proof of claim in order to be paid. Your clairl nray
                                                          be reducecl. rnodifled or          e   Iirnirrated.
                 'lo   .,\   |   | Part ics               Thc plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) rnust check one
                                                          box on eaclt linc listed bclor.r' in this section to state r'vhether the plan includes anv o1'the following:

[t tt.'i,ri,.,ati,,,r,'l lt scerrrc,l clrrirtr.:ct orrt rrr \r:ctit,rr lli. uhich rrlri                                     rr.srrll lrl
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                                                                                                                                                                                                               _    Not included
r pdrilJl |a) ntct)t rrr llo pil) Incnt at irll til llrc sccrilurl c|uditrrr                                                                                                       litr                        -]   --=]
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It""""'
   trur irr S:cri,rrr lll

i-lsgqa-rryliTl'jreil e--Tll" ---                                                                                                                                                                                   Not included
 Il. llLrlN PA\/\'lEItl S-I.ENGTH oF PLAn* AND DEBIARG)IATTO__BNE]1S JEE
                 ;\. NlONTlll,Y l'}I.,\N       PAYN{E\1-: This [)larr pays tbr the bencllt of the creditors the anrounts listed belou'. including trustee's
                        I'eeso1'l0%. begirrning -i0 da.vs fl.onr the {iling"conversion date. In thc event the trustee does not retain the firll l0%. anv unused
                        anroLlnt *ill be paid to urrscculecl nonpliolin creililols pro-rata urrder the plan:



                                      I   I   ,2+1,9,+                    .   tbr nronths             _*l __            to ____,16           __             ;


                                     j    l.l i_1,ii                          fbr nrontlrs                    l7ru15:
                                      st      ^r-r    6   e.1                 Ior rnonths                     16         lrr               6U               :


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       lilF*;
        Payable
           Payable                            $35.9,+
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                                                                          rlnollth (lVlonths                     to   q)
                                                                                                                         $|




       I   Payable                            $91.67                      irnonth (Months 11                     to
       I



       lAllorved fees urrder t-lt 2016-l(B)(2) ale itenrized belorv:
       lAttornel' t' ees $i500- \lotion to Value Auto $500.00
       I




       lApplications tbr conrpcrrsation rrrust be lllcd tirr ull lces ovcr and abovc thc Court's Ciuidelines fbr Cornpcnsatron.
ilt.             TRE.U'M EN-t OE S!]CtIIIED (. t,AINIS
                  \.    sL,(        t ltt.D ( l. \lNlS: Li \oNI;
                 lRetain l,icns pursuant to                          ll   ll.S.('. $1i25 (aX5)l Mortgage(s)iL.ien on Real or                                         Personal Propertv:
                 Ii. \'Al-l         ,\1'lON QF COLl,Al'tlRAl,: [_] NOXt,
                             IIr \'O1.,,\t{l: ,\ SIr('1.'tt}-.D ('Rt:DI'l-ott I lSl'F.l) Utrl-O\\'.'f}lE Pt AN SEUKS 1-O V\l-LlF THE COLL;\TE,RAL.
                             SII('(lRl\(; \'Ot R (lt. \l\1 IN fllll i\\lO( Nl lNI)l('\l'Et) { SIIP{RATE I\4O1-lON \\'II.t. AL.SO BE SERVED                                                                               LIPON
                             Y()t_ t,t_'RSt.r.,\\    \\t)       i'   I-o ut{ 700.1                t.R i0l-i--i.

                             L RtIAL PROPERT\: lfl xorr
                                                                                                                         l'jagc I ol   3
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                                                                                                          [)cbtor(s): Sharin'l ltonrpson. \larccn Morris                       ( rsc nurrl)cr: I7-li()lU
                           2, \'EHl( l.Fis(S):               ill    xOxr,
                (l   rcditor Irltovate- l,oan Selt'                                     Valuc of Collatcral                                  $   r2,e50.00                      Payment

                A dclress          2201 Dottie Lynn Pltwy                               \nrouut of Creditor's Lien                               $20.272.00   Total paid in plan:          $   16,349.3   8
                                   Fort \\/orth , TX 76 120

           L.ast     I    Digits o1-.\ccourrt No                                        Irreresr     ourrt      22FJg                                             $   163.-12 /rxonth (Months         I to l6     )


           VIN:-10'{l                                                                                                                                         _   q2q_0 00 _rrnonth (\4onths 11_
           I)escription of ('ollateral                                                                                                                            $3.+0 99 ,'rlonth (Nlonths 26 tobul
           l00r) Mercedes-Bcnz


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           '; .petrtlon
       I              incullcd less tharr 910 days ple-
        '    lClainr
       i'    'petltton

                          J.   PITRSONAL PROPER'I'\':                            f,l   NONII
             C. LILN AYOIDANCE [T NONE
             D' -StIRRENDEIf O1C-9LL-A:I-EBAL:                                          Secured clainrs flled by any creditor granted stay relief in this section shall not recerve                           a
                         distribution tbnr the Chapter l3 Trustee                         .




                         f,    xoNt,
             E. DlRt'("l Il\l'NIENl*S:                             Seculcd clainrs lllcd b1'an1'creditor granted stay rclief in this scction shall not leceive a distributron
                         lorn tlrc ('lraptcr l.i       I   rustcc.

                         I     xt-lxt,
l\'.         TRE,-\IMEN:r OF IiEES AN-D PRIQBIIYeI=A.lNlSlas defined in ll U.S.C. ss507 and ll U.S.C. g 1322(a)(a)l
             ,\. .\DMrNrS'r'R.{Tr\lE}-ttES OT}tEIt tIt.\N DEBTOBS(SI'AITQBN},_\:S EEE: Tl NONE
               \11111e. State o1 lr            lorida-l)cpt ot' Rel,cnr-rc lFlarrkrulttcl,)

               Payrlcnt Adilress: l)O Box                      ti0-1,5


                I'otal [)uc:                           {l tllS      Sr)


                   Parable                      $i_]   _ql   ,_ ,,,       ,nroltth 1l\lonths             2(r    to_60              )


             B. NTERr-,\L,ltE\lENtlE SIIR\IICE:                                               [i   NONE

       ._*!: I,otT!llct:!.P,jo-!r]:ar!!lc^!1<lrcs):-flNgNi: n !lllufJlxDjlo_gultlou
                         L    Narlc      o1   ('reditor: State Of Florida-C'hild Sunoort Enforcernent

                                        '\dclres,s: Fl. t)cpt o1'Rcvenue. []anhruptcl'
                         [)ay rle nl.
                                                       PO Ilox 8045
                                                       Tallahassee. FL 32i l +-80-15

                         l-otalDuc:       _       _    ${.0_l_qlq
                         Pay   ablc               $ 114    :19              i   nrontlr (N4ontlrs         Ito io t
                         l)avablc                 $I    ]:r:-00             'ntontlr (\4ouths             17 to ?5                     |


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                                                 :f I r] 8tr0:1                               i\lonths    )6           to       60)
                         llegular       Pa1   rlcnt {i1'applicablcl         ,          $5,)8:21_           'lrontlr         (   \4 r.rnths

                         [te-qular      Pa}nrentlit'applicable)                        $-+8tt.6,]         ,'nronth (Months




                                                                                                               I'rgc   -)   ol i
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                                                                                          [)cbtor(s): Slta*'n'fhornpson, lVIarr.:cn Morris          Clasc nunrber: | 7-23640

       t        2.     Narnc ol-('reditor': Statc of'Florida. (ihild Support

                [)a\,nrent ..\clclress: Fl I)ept of [{cvcnrre . [3anl(rul]tcv
                                        PO llox 8045
                                               Iqll4!E$_ss, _ll:3 23 L!:qqls _ _
                'l-otal
                           Due:                s3 0.q-+5.65

                                                                   /rnonth (Months               to 16
                 Pa,vable                 $_144:49 .,..
                                                              -                         -_l                   )

                 Pay'able.$lI!0   -_.._                       _ /rnonth(l\4onths._17, to_25                   )

                 Pay'ablc 5181,27                                     'nronth (N4onths    26     to 6Q        )

                 RegLrlar Paynrent 1i1'applicable                 )        $0.00          rnronth (Months

           D. O'l"tlt.R: I             NOr.-E

\,.        :[RE]\IMENT'Or UNsEelURF]Dr\SNPRrORtT]',CREpl'r-ORS
             A. Pa1, _$tt5 17 -- urorrth (Months 26- to 60                                        )



                  Pro fala dividenci rvill be calculated                  bl   thc l-rurstce upon rcvieu'of flled clairns afier bar date.

             B. fl] lt checkcd. thc I cbtor( s)rvill arncncl nrodilv to ptrt                          l00oo to all allowed unsccured nonprioritl,clainrs.

             C. SLPAR.r\ll..rl-\1CI.'\SSll:ll:I): Fl NONt,
             *Debtor(s) certiti'thc scpalatc classificationis) ofthc claim(s) listed abovc will not prejudice other unsecured nonpriority creditors
             pursuirnt to      ll   L-r.S.C.   $ 1322.
Vl.        EXICUTQB\: CON:IRAC] S Aj\D LlNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in
           this section shall not receive a distribution frorn thc Chapter l3 Trustee.
                 l!       xoxt,
Vll.       lilCqNJE 1'A\ Rt--l tIRNS ANI) R[.[ t Nt)s:                             [ ] xort'
                 f]     Detrtof(s) rvrll not provide tax retun'rs urrless leclrrestcd by any interested parfy pulsLlant to I I U.S.C. ss ,521.
                 ll     Thc dcbtor(s) is hcrcbv adviscd that thc chapter l3 trustec has requested that the debtor(s)cornply with 521(f) l-4 on an
                        annual basis during thc pcndcncy'ofthis case. Thc dcbtor(s) hereby acknowledges that the deadline for providing the
                        'l-rlrstee u'ith tlreir llled tax retunrs is
                                                                     on or before Mav l5 of each year the case is pending and that the debtor(s)shall
                        provide the tnrstee (but not file with the Courl) with veritlcation of their disposable inconre if their gross household inconre
                        irrcreascs lrv rnore thari ltro over the previorrs year's incor.r'rc. llVlianri cases]
                                                                                                                  -l'rustec
                 fil      t)cbtorl st shall prolide copies o1'l earlv inconrc ta\ retufns to the            lbut not fllc with the Court) no later than l\1ay
                          l5th dLrring thc pe rrdurcr o1'the (.lraptcl l.l case . ln thc event tlrc debtor(s)' disposablc incorne or tax reflnds increase.
                          debtor1sisha||irlcreasepityll]entStottnsecttt.cdcretlittlt.stlvcrandabtlv'epalrrlentsprovidedthrotrghthePlanupto|()0oo1.
                          trllorved unsecure d clainrs. [[3r'or.i'ardi l)alnr [3each cases]

\/III.     NQN$TANDARD PI.,AN !'ROY!SI9NS E]I NONE


                       PITOPER'TY OF TIIF- ESTATE                         WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIR]VIATION.

  I declarc that tlre lbrcsoins chtipter              l3 plan      is truc arrd cofrect unde r pcnaltv of pe{u11,.



                                                          Dcbtor                                                                             Joint Debtor
           -fhonrpsorr                                                           Date                                                                                Date
 Sharvn                                                                                                   Nlarcen Morris



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    iti,":i'.t it iti' p.':""..-iulr l, r \rst     ()r)                        [)atc
               l)ebtor(s )' belLtll'

  Ilv filing this dncurnent, the ,,\ttorncy tbr Debtor(s) or Debtor(s), if not represented b1' counsel, certifies that the wording and
  order of the provisions in this Chirpter l3 plan are identical to those contained in Local Form Chapter l3 Plan and the plan
  contains no nonstandnrd provisions other than those set out in paragraph VIII.

                                                                                             l'rgc 3 ol   3
